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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION


MATTHEW B. KREPPS,                            )
                                              )
             Plaintiff,                       )
                                              )     No. 11 C 8787
      v.                                      )
                                              )     Magistrate Judge Jeffrey N. Cole
NIIT (USA), INC.,                             )
                                              )
             Defendant.                       )

                              NOTICE OF MOTIONS

TO:   Andrew Flake
      Arnall Golden Gregory LLP
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      Daniel J. Fumagalli
      Chuhak & Tecson, P.C.
      dfumagalli@chuhak.com

      PLEASE TAKE NOTICE that on Thursday, October 10, 2013, at 8:30 a.m., I shall

appear before the Honorable Jeffrey N. Cole in Room 1003 of the Dirksen Federal

Building, and then and there present PLAINTIFF’S MOTION FOR PROTECTIVE

ORDER REGARDING DEPOSITION OF PLAINTIFF’S FORMER COUNSEL and

PLAINTIFF’S MOTION TO REQUIRE NIIT TO PAY FOR DEPOSITION OF

TESTIFYING EXPERT, copies of which are herewith served upon you.

                                              /s/ Matthew D. Tanner
Matthew D. Tanner (ARDC 6202508)
Richard H. Lehman
TANNER & LEHMAN LLC
53 West Jackson Boulevard, Suite 400
Chicago, Illinois 60604
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312.588.1970
Counsel for Matthew B. Krepps

                                CERTIFICATE OF SERVICE

Matthew D. Tanner hereby certifies that he caused the foregoing Notice and the
Motions referenced therein to be served upon all counsel of record via the court’s
electronic docketing system on October 4, 2013.

                                                /s/ Matthew D. Tanner




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